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                                      DISTRICT OF YERMONT

                        AMERICA                     ))                              ffil ,-
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uNrrED srArES oF                                                                           .                        -.

               v.                                   )       DocketNo. 5:22-CR49
                                                    )
NAT}IAN     CARMAN,                                 )
             Defendant.                             )

                             STIPULATED PROTECTIVE ORDER

       On May 27,2022, the parties submitted the Joint Motion for Protective Order. For good

cause shown, the Court hereby GRANTS the Motion and orders as follows:

       1.      The government may produce discovery material to defense counsel designated as

'?rotected Discovery" in the indices/spreadsheets provided along with discovery or otherwise

identified inthe government's sole discretion in writing as such.

       2.      The Protected Discovery shall not be copied or disseminated to anyone other

than defense counsel or oodefense counsel's team" (as defined below) and must remain in the

custody of defense counsel at all times. Defense counsel shall not share Protected Discovery

(regardless of form) with co-defendants or other defense counsel except defense counsel to

whom the govemment has produced the same materials.

       3.      "Defense counsel's team" includes paralegals, investigators, translators,

litigation support personnel and secretarial staffemployed by defense counsel who are

assignedto assist in thepreparationofthedefense. Defense counsel'steam also includesthose

persons who are formally engaged to assist inthe preparation ofthe defense, including expert

witressesretainedby defensecounseltooflertestimonyatftialpursuanttoFed R Evid 702. AlL

members ofdefense counsel'   s   team shall be subj ect to this Protective Order. No member of defense
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counsel'steamshall be afamilial relative of or have apersonal relationshipwiththedefendantthat

predates the defendant's arest inthis case.

         4.       Defense counsel shall review the terms of this Protective Order with the

defendant and members of the defense counsel's team. Further, defense counsel shall have

every member of thedefensecounsel'steamsigna copy of this Order and return it to the

government, affirmingthatthey understand the terms ofthe Protective Order, prior to

reviewing the Protected D iscovery.

          5.      The defendant may inspect and review the Protected Discovery, but only while in

the presence of defense counsel or      a   member of defense counsel's team, and may not otherwise

access these materials, and may not retain the materials, even temporarily.

          6.      Protected Discovery shall only be used in the preparation of a defense or in plea

negotiations in connection with this matter and for no other pulpose.

          7   .   Absent prior agreement ofthe government or permission from the Court,

Protected Discovery shall not be included in any public filing withthe Court, and instead shall

be submitted under seal.      Ifthegovernment becomes awarethatthejustificationfordesignating

a   particular item   as Protected   Discovery no longer exists, the government shall advise defense

counsel and the Court that such material is no longer subject to the Protective Order.

          8.      The discovery in this case may also include materials containing Personally

Identi$ing Information @II), which defense counsel may share only if the PII has first been

redacted from the Protected Discovery.          If   defense counsel wishes to use discovery material

containing unredacted PII with any witness or potential witness, or to make further disclosure or

dissemination of discovery material containing unredacted PII, defense counsel must first make

ex   parte application to the Court explaining the basis for the disclosure of PII, and may make
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such disclosure only after such application is granted by the Court. In the event defense counsel

seeks   to use discovery material containing unredacted PII in a filing with the Court or during a

court proceeding, such parly   will comply with   Fed. R. Cr. P.49.1(a),    will   ensure that court

transcripts are appropriately redacted to protect PII, and   will   seek permission from the Court

before any such discovery material with unredacted PII is publicly filed.

         9.      Eitherpartytothis Protective Order may petitiontheCourt atany timefor a

modification ofthe Protective Order. Defense counsel may petition the Court at any time to

challenge the governmenfs designation of material    as Protected    Discovery provided, however, that

defense counsel must first explain the basis for hislher concerns in writing to the government and

the government must have a reasonable time to respond to those concems.

         IT IS SO ORDERED.

         Dated at Burlington, in the District of Vermont,this2Tth day of May,2022.




                                               HON. GEOFFREY W. CRAWFORD
                                               Chief United States DistrictJudge


Presented bv:

/s/ Nathanael T. Buwis
Nathanael T. Burris
Paul J. Van de Graaf
Assistant U.S. Attorneys

/s/ Michael L. Desautels
Michael L. Desautels
Mary M. Nerino
Sara M. Puls
Counsel for Defendant
